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           UNITED STATES COURT OF INTERNATIONAL TRADE
      BEFORE: THE HONORABLE STEPHEN ALEXANDER VADEN, JUDGE

                                           )
 ELLWOOD CITY FORGE COMPANY,               )
 ELLWOOD NATIONAL STEEL COMPANY,           )
 ELLWOOD QUALITY STEELS COMPANY, and       )
 A. FINKL & SONS,                          )
                                           )
                           Plaintiffs,     )
                v.                         )     Court No. 21-00007
                                           )
 UNITED STATES,                            )     NON-CONFIDENTIAL VERSION
                                           )
                           Defendant,      )     Business Proprietary Information
                and                        )     Removed from Brackets on Pages 21-
                                           )     22.
 BHARAT FORGE LIMITED,                     )
                                           )
                     Defendant-Intervenor. )
                                           )
                                           )

 REPLY BRIEF OF PLAINTIFFS ELLWOOD CITY FORGE COMPANY, ELLWOOD
 QUALITY STEELS COMPANY, ELLWOOD NATIONAL STEEL COMPANY, AND
        A. FINKL & SONS IN SUPPORT OF THEIR RULE 56.2 MOTION
               FOR JUDGMENT ON THE AGENCY RECORD

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Dated: June 17, 2022
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         IN THE UNITED STATES COURT OF INTERNATIONAL TRADE
       BEFORE: THE HONORABLE STEPHEN ALEXANDER VADEN, JUDGE

                                           )
 ELLWOOD CITY FORGE COMPANY,               )
 ELLWOOD NATIONAL STEEL COMPANY,           )
 ELLWOOD QUALITY STEELS COMPANY, and       )
 A. FINKL & SONS,                          )
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                v.                         )                   Court No. 21-00007
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 UNITED STATES,                            )                   NON-CONFIDENTIAL VERSION
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 BHARAT FORGE LIMITED,                     )
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                     Defendant-Intervenor. )
                                           )
                                           )

    REPLY BRIEF OF PLAINTIFFS IN SUPPORT OF THEIR RULE 56.2 MOTION
                FOR JUDGMENT ON THE AGENCY RECORD

       Ellwood City Forge Company, Ellwood Quality Steels Company, Ellwood National Steel

Company, and A. Finkl & Sons (collectively, “Plaintiffs” or “Petitioners”) respectfully submit

this reply to the response briefs filed by the United States (“the Government”), ECF Doc. 38

(May 10, 2022) (“Govt Br.”); and Bharat Forge Limited (“Bharat”), ECF Doc. 39 (May 20,

2022) (“Bharat Br.”). Neither party has identified a lawful justification for the persistent refusal

of the U.S. Department of Commerce (“Commerce”) to conduct a statutorily compliant

verification and issue a timely verification report for comment by the parties; nor has any party

identified substantial record evidence to support Commerce’s reliance on Bharat’s flawed cost

reporting.




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       On remand, Commerce continued to give Bharat a “free pass” and allow it to skirt the

rigors of on-site verification, reasoning that the Indian government’s travel preferences during

part of the original investigation outweighed domestic FEB producers’ statutory right to relief

from Bharat’s injurious dumping. See Remand Redetermination at 9. The de minimis rate

resulting from Commerce’s abdication of this basic statutory duty allows Bharat to continue

dumping with impunity. And despite this court’s invitation to rectify Commerce’s verification

shortcomings during remand, Commerce again declined to conduct any verification and instead

adopted a new rationale for reaching the same practical result.

       Commerce was required to conduct in-country verification and issue a verification report

prior to its final determination. In an effort to excuse Commerce’s failure to follow the law, the

Government and Bharat lean heavily on affirmative defenses aimed at scenarios not presently

before this court. Unlike the situation recently addressed in Ellwood City Forge Co. v. United

States, Slip Op. 22-66, this appeal returns to this court after a voluntary remand wherein

Commerce sought to reconsider its approach to verification, Plaintiffs exhausted their arguments

in comments on Commerce’s draft remand redetermination, and Commerce responded to those

comments in its Remand Redetermination. Thus, the “twin purposes of protecting administrative

agency authority and promoting judicial efficiency,” McCarthy v. Madigan, 503 U.S. 140, 144-

45 (1992), have been fully served.

       As for Commerce’s reliance upon Bharat’s flawed production cost and G&A expense

reporting, the Government’s response only underscores the necessity of further remand.

Concerning Bharat’s untimely submission of 25 new cost centers, the Government concedes

these cost centers were in fact “additional,” and conspicuously fails to address the long line of

contrary agency practice and Commerce’s own questionnaire instructions in this investigation.




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Regarding Commerce’s acceptance of underreported FEB production costs, the Government

simply points to Commerce’s flawed rationale and otherwise advances an entirely post hoc

justification based on arguments from Bharat’s administrative reply brief that depend upon yet

more untimely factual information. Finally, the Government’s defense of Commerce’s failure to

adequately vet Bharat’s G&A expense calculation merely confirms Commerce has been focusing

on the wrong part of the equation all along, and failed to even consider Plaintiffs’ actual

argument.

       In short, remand is required.
 I.   The Statute and Commerce’s Regulations Mandate In-Country Verification

       With respect to verification, Plaintiffs’ primary argument is that Commerce’s reliance on

a mere questionnaire was unlawful because the statute and Commerce’s regulations mandate in-

country, on-site verification. This requirement is unambiguous, and Commerce’s violation

thereof is identifiable at Chevron step one. It is undisputed that the Statement of Administrative

Action (“SAA”) is key to interpreting the statutory language. See Revised Opening Br. at 18, 20

(citing Kisor & SAA); Govt Br. at 6 (citing Timex); Govt Br. at 9-10 (citing SAA). Implicitly

recognizing the weakness of its position, the Government devotes only two paragraphs to

arguing that no in-country verification requirement exists, but relies on misconstructions of

precedent and the SAA. See Govt Br. at 8-10.

       The Government first cites several cases for the proposition that Commerce has “latitude

to derive verification procedures ad hoc.” Id. at 9; see also id. at 19. But none of the

Government’s cases treat an off-site and out-of-country exercise as a “verification” within the

meaning of 19 U.S.C. § 1677m(i) and the SAA. Indeed, in all of the court cases cited by the

Government, Commerce conducted an on-site verification. See Revised Opening Br. at 23

(addressing Goodluck India, Micron Tech., and Am. Alloys); Fujian Mach. & Equip. Imp. & Exp.


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Corp. v. United States, 25 C.I.T. 1150, 1151 (2001). Thus, whatever latitude Commerce has

with respect to the minutiae of verification, no court has extended this notion to Commerce’s

violation of the minimum statutory prerequisite that verification be on-site and in-country.

Rather, the Government’s citations merely underscore how consistently Commerce has observed

the in-country requirement. This is also true of the dated opinions cited at the end of the

Government’s legal argument. See Govt Br. at 9-10. Neither case discussed out-of-country

verification. Both, moreover, predated the SAA. See U.S. Steel Grp. v. United States, 21 C.I.T.

761 (1997) (assessing the minutiae of Commerce’s comparison methodology); Hercules, Inc. v.

United States, 11 C.I.T. 710, 727 (1987) (describing in-country verification, addressing

challenges to other minutiae).

       The only case to discuss out-of-country verification, see Govt Br. at 11 (citing

Torrington), concerned an administrative review, wherein verification was not mandatory. See

Torrington Co. v. United States, 68 F.3d 1347, 1350 (Fed. Cir. 1995). Torrington applied the

pre-URAA, pre-SAA statute, held that Commerce could lawfully “cancel the verifications”

altogether, and reasoned that “because” of this Commerce could conduct verifications in

Washington, D.C. Id. at 1352. Torrington is not instructive because Commerce has no

discretion to cancel verification in an investigation. See 19 U.S.C. § 1677m(i)(1).

       Next, recognizing that the SAA is key to interpreting the meaning of “verification” in 19

U.S.C. § 1677m(i), the Government sets forth an alternative reading of the SAA. See Govt Br. at

9-10. Substantively, the Government’s framing mixes up sentences from different paragraphs

and simply ignores inconvenient portions. See id. For clarity, the relevant passage is

reproduced, in order, below:

       The regulations will provide that Commerce will verify information in a foreign
       country only after: (1) obtaining agreement from the persons whose information



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       will be examined; and (2) notifying the foreign government concerned of the details
       of the verification. Consistent with current practice, if the foreign government
       concerned or the person whose information is to be verified objects to verification,
       Commerce will not conduct the verification and may disregard the submitted
       information in favor of the facts available, pursuant to amended section 776(a)(4).
       {paragraph two, concerning advance notice and the treatment of proprietary
       information by non-government verifiers, is omitted}
       As under existing practice, where practicable, verification will be conducted after
       receipt of all questionnaire responses, and Commerce should provide advance
       notice as to the general nature of the information which will be requested….
       The regulations also should require Commerce, consistent with its current practice,
       to report the methods, procedures, and results of the verification prior to making its
       final determination in an investigation….
Statement of Administrative Action Accompanying the Uruguay Round Agreements Act, H.R.

Doc 103-316, Vol. 1 (1994) at 868.

       The Government would have this court believe that the first sentence of the first

paragraph merely restricts one of innumerable options for verification, and otherwise claims, in

an apparent non sequitur, to have complied with the first sentence of the third paragraph. See

Govt Br. at 9-10. Regarding the latter, the Government’s reliance on a mere questionnaire to

“verify” is incompatible with conducting verification “after receipt of all questionnaire

responses.” SAA at 868 (emphasis supplied). The first paragraph, for its part, specifies notice

and agreement requirements for in-country verification, but it also specifies consequences

wherever “the foreign government concerned or the person whose information is to be verified

objects”––Commerce “will not conduct the verification.” Id. The Government ignores this

entirely. See Govt Br. at 10. The SAA’s mandate––that wherever the prerequisites to in-country

verification are not met Commerce “will not conduct the verification”––requires that Commerce

verify information in-country, or apply 19 U.S.C. §§ 1677e(a)-(b).




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       Commerce recognized the foregoing in drafting its regulations. The Government limited

its regulatory discussion exclusively to 19 C.F.R. § 351.307(b)(1)(i). See Govt Br. at 9 & n.1.

This misses the mark. As Plaintiffs argued, and the Federal Circuit confirmed, per 19 C.F.R. §

351.307(d), “‘{v}erification’ is conducted by visiting the foreign company’s facilities to review

‘all files, records and personnel’ relevant to the inquiry.” Hitachi Energy USA Inc. v. United

States, Ct. No. 2020-2114, __ F.4th __, Slip Op. at 9 n.2 (Fed. Cir. 2022) (emphasis supplied)

(internal citations omitted); see also Revised Opening Br. at 20-21.

       Finally, the Government suggests that because Commerce has in one instance not

performed in-country verification, and in another instance performed in-country, off-site

“verification,” it is permitted to violate the statute in perpetuity. See Govt Br. at 11 (citing PET

Resin and Brakes Rotors). But Commerce’s references to its own prior practice are

fundamentally irrelevant to Plaintiffs’ Chevron step one argument because the statutory mandate

that “verification” be on-site and in-country is unambiguous. As the Supreme Court stated,

“{t}|he power of executing the laws necessarily includes both authority and responsibility to

resolve some questions left open by Congress that arise during the law’s administration. But it

does not include a power to revise clear statutory terms that turn out not to work in practice.”

Util. Air Regulatory Grp. v. EPA, 573 U.S. 302, 327 (2014) (emphasis supplied); see also

Revised Opening Br. at 20-22 (statutory argument without reference to agency practice). The

Constitution vests Congress––not Commerce––with the power to amend the antidumping statute

and SAA. See U.S. Const. Art. 1 § 1. In any event, the overwhelming predominance of in-

country verification is undisputed; and the validity of Commerce’s approaches to “verification”

in PET Resin and Brake Rotors were never addressed––much less condoned––by any court.




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Accordingly, as the requirement of in-country, on-site verification is identifiable at Chevron step

one, remand is necessary for Commerce to comply with this mandate.

 II. The Statute and Commerce’s Regulations Mandate a Timely Verification Report;
     Commerce’s Failure to Provide One Was Not “Harmless Error”

       The Government acknowledges Commerce’s obligation to produce a verification report.

Govt Br. at 21. Commerce’s Remand Redetermination forthrightly acknowledged that it “did not

issue a verification report in accordance with 19 C.F.R. § 351.307(b)-(d),” Remand

Redetermination at 8-9, yet the Government now claims Commerce “met this obligation,” Govt

Br. at 21 (citing regulation). The Government elsewhere recites Commerce’s Remand

Redetermination rationale, without a word of response to Plaintiffs’ opening arguments.

Compare Govt Br. at 21-22, with Revised Opening Br. at 23-24. As Plaintiffs explained, the

constellation of documents on which the Government relies are insufficient because they are

variously untimely and not from Commerce, as the SAA and Commerce’s own regulations both

require. See Revised Opening Br. at 23-24.

      Rather than explain Commerce’s failure to issue a verification report, the Government

devotes most of its argument on this issue to claiming that Plaintiffs suffered no harm. See Govt

Br. at 22-23. The Government asserts that “substantial prejudice” to Plaintiffs must be shown to

warrant remand. Id. at 23. This notion is derived from American Farm Lines, which states:

       it is always within the discretion of a court or an administrative agency to relax or
       modify its procedural rules adopted for the orderly transaction of business before
       it when in a given case the ends of justice require it. The action of either in such a
       case is not reviewable except upon a showing of substantial prejudice to the
       complaining party.

Am. Farm Lines v. Black Ball Freight Serv., 397 U.S. 532, 539 (1970) (emphasis supplied).

American Farm Lines makes plain that the substantial prejudice hurdle is only erected after two




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prerequisites are satisfied: (1) the ends of justice required the modification; and (2) the modified

rule was procedural in nature. Neither prerequisite is satisfied here. 1

      First, the Government’s brief makes no attempt to explain what “require{d}” Commerce

not to issue a verification report. See Govt Br. at 22-23. The Remand Redetermination asserts

generally that all verification-related procedures in this investigation were rooted in Commerce’s

inability to conduct on-site verification, see Remand Redetermination at 9, but makes no effort to

explain how this “require{d}” Commerce not to prepare a timely report. Merely reciting two

unrelated facts is no explanation at all. Unless the Supreme Court’s language were merely an

empty recitation, Commerce was obligated to explain what required it not to prepare a

verification report. See 19 C.F.R. § 351.307(c); 19 U.S.C. § 1677m(i); SAA at 868.

      Second, Commerce’s failure to issue a verification report is not merely procedural in

character. A verification report is a piece of substantive record evidence that explains the

“methods, procedures, and results of a verification.” SAA at 868; 19 C.F.R. § 351.307(c). The

contents of such reports and their significance is often argued at length before Commerce and the

courts in determining whether Commerce’s determination is supported by substantial evidence.

See, e.g., AK Steel Corp. v. United States, 192 F.3d 1367, 1384 (Fed. Cir. 1999) (“Although not

specifically discussed in the Final Determination, we conclude that Commerce relied on record

evidence, specifically the Verification Report of the Government of Korea….”). Commerce now

variously claims that documents created by Bharat and documents that were unavailable until

after the investigation concluded constitute a verification report. See Govt Br. at 21 (pointing to,

e.g., Bharat’s questionnaire response and Commerce’s IDM). These are not a valid substitute for



1
 Neither prerequisite was considered by Ellwood City Forge Co., USCIT Ct. No. 21-00073, Slip
Op. 22-66 (June 14, 2022) at 34 n.5.


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the statutory verification report and, critically, deprived Plaintiffs the ability to advance

arguments and analysis both before the agency and before the court based on Commerce’s

substantive findings at its so-called “verification.”

       For these reasons as well, if required, “substantial prejudice” exists here. “Prejudice, as

used in this setting, means injury to an interest that the statute, regulation, or rule in question was

designed to protect.” Intercargo Ins. Co. v. United States, 83 F.3d 391, 396 (Fed. Cir. 1996).

Here, a timely report of the “methods, procedures and results of a verification” protects parties’

interest in access to substantive information concerning verification that can be used to influence

agency decision-making. Unlike Pam, where Commerce effectively “cured” a failure to timely

notify the plaintiff by subsequently granting extensions of time, see 463 F.3d 1345, 1349 (Fed.

Cir. 2006) (assessing violation of 19 C.F.R. § 351.303(f)(3)(ii)), Commerce’s “curing” action

here––i.e., issuing the Final IDM––was inadequate. Rather than generally reporting on the

“methods, procedures, and results of a verification,” 19 C.F.R. § 351.307(d), the Final IDM

merely responds to arguments independently raised by Plaintiffs. It is impossible for Plaintiffs

to know what they might have argued administratively, had an actual verification report existed.

Moreover, the Final IDM came too late to have any practical relevance.

 III. Defendant and Defendant-Intervenor Rely Extensively on Inapplicable Affirmative
      Defenses to Commerce’s Failure to Conduct Verification

       The Government and Bharat would have this court believe that the administrative

determination under review is Commerce’s final determination. Govt Br. at 2; Bharat Br. at 1-2.

This is incorrect. The administrative determination under review is, in fact, the Government’s

Remand Redetermination––which is “new agency action” that reversed Commerce’s “prior

reasons” with respect to verification. See Dep’t of Homeland Sec. v. Regents of the Univ. of Cal.,

140 S. Ct. 1891, 1907-08 (2020) (“DHS”); Revised Opening Br. at 14-16 (describing reversal).



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Where, as here, Commerce proffers “new” reasoning on remand it “must comply with the

procedural requirements for new agency action.” See DHS, 140 S. Ct. at 1907-08. This includes

Commerce’s obligation to verify all information relied upon in “a final determination in an

investigation.” 19 U.S.C. § 1677m(i)(1).

          This posture, which stems directly from the Government’s voluntary decision to request

remand on this very issue, completely changes the landscape with respect to the affirmative

defenses raised by the Government and Bharat, as compared to other recent appellate actions.

See generally Ellwood City Forge v. United States, USCIT Ct. No. 21-00073, Slip Op. 22-66

(June 14, 2022); Ellwood City Forge v. United States, USCIT Consol. Ct. No. 21-00077 (neither

concerning remand results). In short, the Government cannot have the benefit of proffering a

new rationale in the Remand Redetermination without following statutory protocols. There is no

question that Plaintiffs extensively argued, and Commerce in fact considered, these verification

issues during remand proceedings. See Plaintiffs’ Comments on Draft Remand Redetermination

at 2-6 (Appx087452-087456). As a result, neither the Government’s claims regarding Plaintiffs’

positions in the investigation, see Govt Br. at 5, 8, 15, 17, 22, nor Bharat’s exhaustion arguments,

see Bharat Br. at 3-5, have any validity or merit.

     A.     Plaintiffs Did Not “Agree With Commerce’s Verification Methodology” or its
            Failure to Issue a Verification Report During the Investigation

          The Government seeks to repurpose the record of the original investigation into what

appears to be a quasi-equitable estoppel defense. The Government, however, never uses the term

“estoppel,” nor does it identify any legal authority indicating what consequences the Government

is seeking. To the extent it can be considered an argument, it is most certainly “skeletal,” and

thus waived. See, e.g., MTZ Polyfilms, Ltd. v. United States, 659 F. Supp. 2d 1303, 1308 (Ct.

Int’l Trade 2009) (“‘{i}ssues adverted to in a perfunctory manner, unaccompanied by some



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effort at developed argumentation, are deemed waived. It is not enough merely to mention a

possible argument in the most skeletal way, leaving the court to do counsel’s work…”). Nor is

this court independently obligated to consider this particular matter. Cf. CIT Rule 8(d) (requiring

that estoppel be pled as an affirmative defense).

        In any event, the Government’s position is hollow. Its examples are limited to statements

made prior to Commerce’s original final determination. See Govt Br. at 5, 8, 15-17, 22. In that

very determination Commerce itself concluded that “on-site verifications a{re} required under

section 782(i) of the Act.” Final IDM at 2 (Appx083613). It is absurd for the Government to

now imply that Petitioners are estopped from asserting the very same position that the

Government itself espoused immediately after the challenged statements.

        Moreover, “{t}he gravamen of estoppel…is misleading and a consequent loss,” Petrella

v. MGM, 572 U.S. 663, 684 (2014),2 and the record contains nothing approaching misleading

conduct by Plaintiffs. During the investigation, Plaintiffs (1) asserted that the statute required

on-site verification (e.g., Appx083328, Appx087607)); and (2) proposed questions for a

“verification outline,” consistent with Commerce’s on-site practice (e.g., Appx083325).

        To be sure, after Commerce had promulgated its unlawful questionnaire-based alternative

to verification, Plaintiffs argued for procedural strictures (e.g., strict deadlines) in an effort to

make the best of it (e.g., Appx087594, 087604), but this hardly excuses the unlawfulness of

Commerce’s refusal to conduct verification on-site in the first place. Importantly, Plaintiffs

specifically criticized Commerce’s extraordinary accommodation of Bharat through a “pared




2
 The Federal Circuit typically frames the analysis as having three steps. See, e.g., Mabus v.
Gen. Dynamics C4 Sys., 633 F.3d 1356, 1359 (Fed. Cir. 2011).


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down verification questionnaire instead of conducting robust on-site verification.” Petitioners’

Opposition to Second Extension (Sept. 11, 2020) at 4 (Appx087607).

          Finally, while the Government presses a similar story in defending the absence of a

verification report, see Govt Br. at 22 (claiming Ellwood “approvingly discussed” Commerce’s

methods), it cites part of the record with no mention of a verification report, see Public

Transcript at 12 (Appx083548). Yet, on the very next page, Plaintiffs specifically noted that in

“an ordinary case…there would already now be on the record a scathing written cost verification

report for all to see….” Id. at 13 (Appx083549).

          In sum, in asserting that Plaintiffs condoned Commerce’s verification questionnaire and

failure to issue a verification report without reservation, the Government simply mischaracterizes

the administrative record.

     B.     Plaintiffs Exhausted Their Administrative Remedies; Bharat Confuses the Final
            Determination with the Remand Redetermination

          Bharat’s exhaustion salvos are aimed at a nonexistent scenario. See Bharat Br. at 3-5.

Currently before this court is Plaintiffs’ challenge to Commerce’s Remand Redetermination.

This redetermination advances entirely new reasoning in defense of Commerce’s verification

procedures, thus making the redetermination “new” agency action. See DHS, 140 S. Ct. at 1907-

08. Such a redetermination “must comply with the procedural requirements for new agency

action,” see id., meaning that Plaintiffs’ arguments with respect to Commerce’s procedural

obligations to conduct an in-country, on-site verification and issue a verification report prior to

the issuance of this redetermination were properly exhausted during remand, see Plaintiffs’

Comments on Draft Remand Redetermination at 1-6. In its Remand Redetermination,

Commerce has thus “erred against objection.” United States v. L.A. Tucker Truck Lines, 344

U.S. 33, 37 (1952).



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       As the CIT has held, a voluntary remand renders exhaustion arguments “moot” where

Commerce “request{ed} to review new issues raised by {Plaintiff} subsequent to Commerce’s

original determination.”3 Nakornthai Strip Mill Pub. Co. v. United States, 587 F. Supp. 2d 1303,

1312 (Ct. Int’l Trade 2008) (characterizing Gleason Indus. Prods. v. United States, 556 F. Supp.

2d 1344, 1346 n.2 (Ct. Int’l Trade 2008)); see also United States Steel Corp. v. United States, 36

C.I.T. 534, 538 (2012) (holding that “{e}ven though the result is the same, the remand

determination replaced the original determination as a matter of law” and ordering a second

remand to consider an issue Commerce had declined to consider during the first remand because

the party had not argued it during the underlying review). As in Gleason, during remand

Plaintiffs raised and Commerce considered the very issues argued thereafter in Plaintiffs’

Revised Opening Brief concerning the necessity of in-country, on-site verification and a timely

verification report. See Nakornthai, 587 F. Supp. 2d at 1312 (summarizing Gleason); Commerce

Motion for Voluntary Remand at 1 (requesting remand of the matter “in its entirety to give

Commerce the opportunity to reconsider its position in this investigation on the in lieu of on-site

verification questionnaire and subsequent reliance on facts available in its final determination.”);

Plaintiffs’ Comments on Draft Remand Redetermination at 1-6 (arguing issues); Remand

Redetermination at 4-10 (addressing issues).

       Commerce’s decision to use remand proceedings to dig in its heels and refuse to verify

does not extinguish Plaintiffs’ right to judicial review of the lawfulness of Commerce’s conduct.

Quite the opposite––that Commerce did weigh these issues, see Remand Redetermination at 4-

10, negates the policy considerations generally relied upon to justify exhaustion bars, see, e.g.,



3
 As explained infra, these issues are not in fact “new” to remand proceedings. Nevertheless,
had they been, exhaustion would be no barrier.


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Parisi v. Davidson, 405 U.S. 34, 37 (1972) (“The basic purpose of the exhaustion doctrine is to

allow an administrative agency to perform functions within its special competence––to make a

factual record, to apply its expertise, and to correct its own errors so as to moot judicial

controversies.”); Baroque Timber Indus. (Zhongshan) Co. v. United States, 925 F. Supp. 2d

1332, 1340 (Ct. Int’l Trade 2013) (“because Commerce has requested voluntary remand there is

little concern that the alleged failure to exhaust will deprive{} the agency of the opportunity to

consider these arguments in the first instance. Rather, remand will allow{} the agency to apply

its expertise, rectify administrative mistakes, and compile a record adequate for judicial review”)

(internal quotations omitted); Timken Co. v. United States, 630 F. Supp. 1327, 1340 (Ct. Int’l

Trade 1986) (“since the government itself is asking for a remand despite Timken’s failure to

exhaust its remedies, the significance of one of the policies underlying the exhaustion doctrine,

namely, that a court should not usurp an agency’s function by considering issues the agency has

not first considered, is of reduced significance.”). Framed in terms of the USCIT’s governing

statute, even if Plaintiffs had not exhausted their administrative remedies, it would not be

“appropriate” for this court to refuse to consider these issues. See 28 U.S.C. § 2637(d).

       Nor does 19 C.F.R. § 351.309(c)(2) bar this court from considering Plaintiffs’ arguments.

See Bharat Br. at 3-4. First, “{a} precondition to deference under Chevron is a congressional

delegation of administrative authority,” Adams Fruit Co. v. Barrett, 494 U.S. 638, 649 (1990),

and Commerce has no power to limit this Court’s scope of review; only Congress may do so.

C.f., e.g., id. (declining to defer to Department of Labor’s interpretation of a statute administered

by the courts); Hor Liang Indus. Corp. v. United States, 337 F. Supp. 3d 1310, 1318 (Ct. Int’l

Trade 2018) (“Chevron deference does not apply to Commerce’s regulatory definition {of a

party to the proceeding} because Commerce does not administer the standing statute”). Second,




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Section 351.309(c) does not govern remand proceedings. See 19 C.F.R. § 351.309(c)(1)(i) (“For

a final determination in a…antidumping investigation…”) (emphasis supplied). Third, even if

19 C.F.R. § 351.309(c)(2) were applied by analogy, Plaintiffs raised the relevant issues in their

comments on Commerce’s draft redetermination. See Plaintiffs Comments on Draft Remand

Redetermination at 1-6.

       As for the original investigation, Plaintiffs argued that “a robust on-site verification” is

what is “contemplated under the statute,” Petitioners’ Post-Prelim Comments at 26

(Appx083328); see also Plaintiffs’ Opposition to Second Extension at 4 (Appx087607), and even

Bharat contrasted Commerce’s ad hoc process with “an actual verification,” see Bharat Virtual

Verification Request at 1-2 (Appx087616-087617). Ultimately, Commerce itself recognized that

“on-site verifications a{re} required under section 782(i) of the Act,” demonstrating that it was

both “put on notice of” and in fact considered the issue. Final IDM at 2 (Appx083613); Trust

Chem Co. v. United States, 791 F. Supp. 2d 1257, 1268 n.27 (Ct. Int’l Trade 2011). The issue

was therefore exhausted in the first instance. Even if it were not, the widely recognized “pure

question of law” exception to the exhaustion doctrine would clearly apply to Plaintiffs’

interpretation of 19 U.S.C. § 1677m(i). See, e.g., Weishan Hongda Aquatic Food Co. v. United

States, 917 F.3d 1353, 1363 (Fed. Cir. 2019) (“{T}he requirement to exhaust administrative

remedies under § 2637(d) is not jurisdictional,” but rather should be employed only “where

appropriate.”); Sections I-II, supra (advancing Chevron step one arguments).

     As a final matter, Bharat failed to raise this affirmative defense with respect to Plaintiffs’

arguments concerning Commerce’s failure to issue a timely verification report. Although Bharat

mentions a “verification report” in one clause in its Summary of Argument, see Bharat Br. at 3,

merely “mention{ing} a possible argument in the most skeletal way” does not suffice to raise




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that argument for the court’s consideration, MTZ Polyfilms, 659 F. Supp. 2d at 1308. The

relevant portion of Bharat’s Argument makes no mention of a “report” of any kind. See Bharat

Br. at 3-5. In any event, Plaintiffs fully argued that Commerce was obligated to issue a

verification report for comment prior to its final redetermination, see Plaintiffs Comments on

Draft Remand Redetermination at 3, and even raised this issue during the administrative hearing,

see Public Transcript at 13 (Appx083549).

 IV. Even if this Court Reaches Chevron Step Two, Commerce’s Verification
     Questionnaire Was Not a Reasonable Methodology Under the Statute

       The Government devotes most of its argument to the notion that Commerce’s verification

methodology was reasonable under Chevron step two. See Govt Br. at 10-21. The court need

not address these arguments, because the statute is unambiguous, resolving this question at

Chevron step one. But even under Chevron step two, the verification questionnaire was not a

reasonable verification methodology. Notably, the Government makes no Chevron step two

argument whatsoever concerning Commerce’s failure to issue a verification report. See id. at 21-

23.

       As an initial matter, in weighing the Government’s SAA arguments in the context of

Chevron step two, none are due deference under Chevron, because the Remand Redetermination

itself never articulates any particular interpretation of the SAA. See Revised Opening Br. at 23;

Remand Redetermination at 8-9; Bowen v. Georgetown Univ. Hosp., 488 U.S. 204, 212 (1988)

(“{W}e have declined to give deference to an agency counsel’s interpretation of a statute where

the agency itself has articulated no position on the question, on the ground that Congress has

delegated to the administrative official and not to appellate counsel the responsibility for

elaborating and enforcing statutory commands.”) (internal quotation marks omitted).




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       With respect to verification, the Government focuses on Commerce’s discretion to

sample certain data, how it structured some aspects of its questionnaire to mimic on-site

verification, and how it subjectively considered the verification questionnaire to be a verification.

See Govt Br. at 10-21. In other words, rather than advance a narrative aimed at the governing

statute and regulations, the Government instead highlights a series of points that fail to address,

much less establish, the reasonableness of Commerce’s approach by reference to any rationale

elucidated in the Remand Redetermination itself. As Plaintiffs detailed, neither the Remand

Redetermination nor Commerce’s Final IDM address why Commerce deemed a mere

supplemental questionnaire––out of the universe of other options––to be a reasonable

verification methodology in both September 2020 (during the investigation) and in November-

December 2021 (during remand). See Plaintiffs’ Revised Opening Br. at 28-30.

       The Government makes no effort to defend Commerce’s reliance on a mere questionnaire

during the remand period, merely asserting in a conclusory fashion that Commerce’s

questionnaire complied with the statute. See Govt Br. at 21. Were this “rationale” sufficient,

then literally anything could constitute “verification.” The absence of meaningful explanation is

all the more glaring in light of the fact Commerce has completely reversed its position from the

original administrative proceeding. Compare Final IDM at 2 (Appx083613) (concluding on-site

verification was required and relying on “facts otherwise available” for want of a statutorily

compliant verification), with Remand Redetermination at 3.

       This court’s remand order provided ample time and specific encouragement for

Commerce to undertake a proper verification to correct this deficiency. See Order, ECF Doc. 28

(Oct. 29, 2021) at 5 (“the Court grants the Motion, allowing an initial period of 150 days for

Commerce to issue any redetermination. This remand will allow Commerce, at its discretion, to




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perform onsite verification, which would moot all procedural issues created by the agency’s

decision to short-circuit verification.”). Notably, this remand proceeding was voluntary––at

Commerce’s request. See id. As Plaintiffs explained, however, even accepting arguendo

Commerce’s characterization of the barriers it faced during the original investigation, conditions

during remand were conducive to in-country, on-site verification procedures. See Plaintiffs’

Revised Opening Br. at 29-30. During remand, Commerce had the opportunity to conduct an in-

country, on-site verification in the lead-up to its “new agency action,” see DHS, 140 S. Ct. at

1907-08, and could not reasonably continue to rely on a mere questionnaire solely by asserting

Commerce had not been able to conduct in-country verification over a year prior. This is a

historical footnote, not a coherent rationale.

       As for the original investigation, the Government asserts that in-country, on-site

verification was “unfeasible” because the Indian government had “strict travel restrictions on

U.S. travelers” in place during the relevant time period. See Govt Br. at 21. The government

thus agrees that in-country verification was Commerce’s starting point. See id. But Commerce

identifies nothing in the Remand Redetermination (or Final IDM) establishing that reliance on a

mere questionnaire was reasonable, given the other alternatives available. See Plaintiffs’

Comments on Remand Redetermination at 4-5 (noting alternatives). Tellingly, the aspect of

Commerce’s questionnaire that was “consistent” with on-site verification and which Commerce

actually enforced was a disadvantage to petitioners, viz., precluding rebuttal information. See

Govt Br. at 18. Other “consistent” aspects, such as preventing Bharat from submitting “new”

information or asking questions similar to on-site inquiries, see id., were either not enforced (as

Commerce accepted unsolicited new information) or were a hollow substitute (Commerce’s

questions concerned a mere subset of what it would normally ask). See Section V, infra; Revised




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Opening Br. at 34-36; Petitioners’ Objection to Second Extension Request at 3-4 (Appx087606-

087607). Commerce’s one-sided methodology for its so-called verification “contravene{d}

statutory objectives” to ensure the accuracy of its calculations, Ipsco, Inc. v. United States, 899

F.2d 1192, 1195 (Fed. Cir. 1990); see also Revised Opening Br. at 31-32, and is wholly

inconsistent with Commerce’s own regulatory mandate to verify in-country, see Revised

Opening Br. at 32-33. Given the alternatives available, including several used by Commerce

itself in the past––even if one were to accept that in-country, on-site verification is not required–

–Commerce’s reliance upon a mere questionnaire remains arbitrary, unreasonable, and

antithetical to the statutory goal of accurate margin calculation.

 V.    Commerce’s Rationales for Accepting Bharat’s Flawed Cost Reporting Were
       Unsupported by Substantial Evidence

      A.     Commerce’s Acceptance of Unsolicited Information at “Verification” Was
             Arbitrary

           Exhibit D-71 of Bharat’s response to Commerce’s “verification” questionnaire newly

reported 25 additional cost centers. None of these 25 new cost account numbers are found

anywhere on the record prior to Bharat’s “verification” questionnaire response––thus, the various

exhibits Bharat had submitted prior to “verification” were incomplete. See Petitioners’ Admin.

Case Brief at 11, Attach. B (Appx083443, Appx083491-083492). Commerce’s “verification”

questionnaire never asked Bharat to provide additional cost account numbers, and Commerce’s

instructions (consistent with established practice) stated that unsolicited revisions would be

rejected. Yet, Commerce arbitrarily accepted this new factual information.

           The Government’s defense begins by inaccurately claiming Bharat’s 25 new cost centers

were not in fact “new.” See Govt Br. at 28. But even the Government refers to them as

“additional cost centers” consisting of “duplicate{s}” and “breaking major cost centers into

subsections.” Id. (emphasis supplied). As in the IDM, the Government’s reasoning distorts the


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concept of “supporting” prior reporting to something limited only by a respondent’s creativity––

here, including Bharat fixing deficient reporting by belatedly providing missing information. See

id.; Final IDM at Appx083617. Nor does the Government suggest that adding 25 cost centers

could be considered a “minor” correction. See Govt Br. at 28-30; Final IDM at 6 (Appx083617).

Glaringly, the Government makes no attempt to explain Commerce’s ad hoc re-writing of its

rules concerning acceptance of new information at verification by reference to prior practice.

Compare Govt Br. at 28-30, with Revised Opening Br. at 34-35. As Plaintiffs explained,

Commerce’s consistent practice––as affirmed by the Federal Circuit––has been to reject

respondents’ attempts to fix incomplete reporting by providing the missing information at

verification. See Revised Opening Br. at 34-35 (citing examples); Goodluck India Ltd. v. United

States, 11 F. 4th 1335, 1342-43 (Fed. Cir. 2021) (“Commerce’s typical practice is to accept

corrective information at verification only for minor corrections to information already on the

record. A minor correction is one that rectifies minor mistakes in addition, subtraction, or other

arithmetic function, minor data entry mistakes, clerical errors resulting from inaccurate copying,

duplication, or the like, {or} minor classification errors.”) (internal quotation marks omitted)

(emphasis supplied).

       Furthermore, the Government makes no attempt to explain how the 25 new cost centers

could be considered responsive to the actual questions posed by Commerce’s “verification”

questionnaire. See Govt Br. at 29-30. Commerce instructed Bharat to complete the truncated

text descriptions associated with the cost center numbers in “Exhibit D-29” and identify the total

cost accumulated in each “Exhibit D-29” cost center. Commerce Post-Prelim. Questionnaire at

Q.25 (Appx083337). Yet, Exhibit D-71 included 25 new cost centers that did not appear in

Exhibit D-29. See Revised Opening Br. at 34-36; Govt Br. at 28; Final IDM at 6 (Appx083617)




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(both characterizing them as “additional cost centers”). This exceeded the scope of Commerce’s

question. Commerce did not ask for this information; Commerce stated it would not accept

unrequested information or revisions––yet that is precisely what Commerce did. See Final IDM

at 6 (Appx083617). This unexplained and therefore arbitrary departure from Commerce’s

instructions in this investigation and its past practice in other proceedings warrants remand.

     B.     Commerce’s Finding that Bharat Did Not Underreport FEB Processing Costs Is
            Unsupported by Substantial Evidence

          Bharat failed to report costs associated with cost centers that Bharat identified as relating

solely to MUC. See Revised Opening Br. at 37-44. The Government simply repeats

Commerce’s flawed assertion that the disconnect between Bharat’s cost reconciliation and its

cost center report is immaterial because the “{Exhibit D-71} cost center report includes costs of

both {MUC and non-MUC}, and thus reasonably reports greater costs than those in the {Exhibit

D-32.2} cost reconciliation, which reports only the total cost of the MUC.” Govt Br. at 29; see

also Final IDM at 6 (Appx083617). This assertion misses the point entirely. The cost centers at

issue relate solely to MUC, rendering any disparity grounded in non-MUC costs irrelevant. See

Revised Opening Br. at 41-44. For example, Subdivision [               ] contains solely MUC

[                  ] cost centers and yet the reported total for these specific MUC-only cost centers

in Exhibit D-71 vastly exceeds the reported total for Subdivision [            ] in Exhibit D-32.2.

See id. at 41-42. Commerce’s reasoning fails to support its conclusion, requiring remand.

          As for the specific examples highlighted in Plaintiffs’ administrative and appellate briefs,

see Revised Opening Br. at 41-44 ([           ] Subdivision, [                       ] Subdivision,

and overall FEB [                ] costs); Plaintiffs’ Admin. Case Br. at 11-18 (same) (Appx083443-

083450), Commerce never engaged with these discrepancies, see Final IDM at 6 (Appx083617).

As such, the Government’s defense relies exclusively on post hoc rationale. See Govt Br. at 30



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(bootstrapping Commerce’s passing citation of Exhibit D-72 into an analysis). As “an agency’s

action must be upheld, if at all, on the basis articulated by the agency itself,” Motor Vehicle Mfrs.

Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 50 (1983), the Government’s inability to

identify any rationale articulated by Commerce administratively renders Commerce’s rejection

of Plaintiffs’ arguments arbitrary and necessitates remand.

       Even the Government’s post hoc rationale, lifted directly from Bharat’s Administrative

Rebuttal Brief, is unsupported by substantial record evidence. See Govt Br. at 30. Concerning

Subdivision [         ], as Plaintiffs alleged administratively, Bharat’s Administrative Rebuttal

depends upon on untimely new factual information––i.e., Bharat’s reclassification of the

[         ] cost center at issue, [         ], as relating partly to non-MUC––whereas Exhibits D-

29 and D-71 both identified this cost center as relating exclusively to MUC. Compare id. (citing

Bharat Administrative Rebuttal Br. at 5-7 (Appx090024-090026)), with Petitioners’ Request to

Reject at 5-6 (Appx090055-090056); see also Bharat’s “Verification” QR at Ex. D-71

(Appx087388); Bharat’s 2d Supp. DQR at Ex. D-29 (Appx083706). Neither Commerce nor the

Government address the untimeliness of Bharat’s attempt to rewrite the record.

       The scenario is the same for the [                     ] Subdivision, with the Government

belatedly crediting Bharat’s administrative rebuttal that cost centers comprising this subdivision

related to both MUC and non-MUC. See Govt Br. at 30 (citing Bharat Administrative Rebuttal

Br. at Ex. CB-2 (Appx090042-090043)). The record tells a different story, as Exhibits D-29 and

D-71 report all [   ] cost centers as exclusively related to MUC [                 ] costs. See

Revised Opening Br. at 42-43; Bharat’s “Verification” QR at Ex. D-71 (Appx087389); Bharat’s

2d Supp. DQR at Ex. D-29 (Appx083706). The Government never addresses Plaintiffs’ third

example, concerning Bharat’s aggregate FEB [                  ] costs. Compare Revised Opening




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Br. at 43-44, with Govt Br. at 30. In sum, even the Government’s post hoc rationale directly

contradicts the record, and remand is required.

     C.     Commerce’s Finding that Bharat’s G&A Expenses Were Not Underreported Is
            Unsupported by Substantial Evidence

          Bharat understated its G&A allocation ratio by failing to include certain cost centers that

cumulate employee cost in the numerator. See Revised Opening Br. at 44-47. Bharat’s G&A

expense rate calculation can be summarized as follows:

          Step One:
          𝑃𝑂𝐼 𝐸𝑚𝑝𝑙𝑜𝑦𝑒𝑒 & 𝐵𝑒𝑛𝑒𝑓𝑖𝑡𝑠 𝐶𝑜𝑠𝑡𝑠 𝐴𝑙𝑙𝑜𝑐𝑎𝑡𝑒𝑑 𝑡𝑜 𝐺&𝐴
                                                         = 𝐺&𝐴 𝐴𝑙𝑙𝑜𝑐𝑎𝑡𝑖𝑜𝑛 𝑅𝑎𝑡𝑖𝑜
               𝑇𝑜𝑡𝑎𝑙 𝑃𝑂𝐼 𝐸𝑚𝑝𝑙𝑜𝑦𝑒𝑒 & 𝐵𝑒𝑛𝑒𝑓𝑖𝑡𝑠 𝐶𝑜𝑠𝑡𝑠
          Step Two:
           𝐺&𝐴 𝐴𝑙𝑙𝑜𝑐𝑎𝑡𝑖𝑜𝑛 𝑅𝑎𝑡𝑖𝑜 × 𝑇𝑜𝑡𝑎𝑙 𝐹𝑖𝑠𝑐𝑎𝑙 𝑌𝑒𝑎𝑟 𝐸𝑚𝑝𝑙𝑜𝑦𝑒𝑒 & 𝐵𝑒𝑛𝑒𝑓𝑖𝑡𝑠 𝐶𝑜𝑠𝑡𝑠
                        = 𝐹𝑖𝑠𝑐𝑎𝑙 𝑌𝑒𝑎𝑟 𝐸𝑚𝑝𝑙𝑜𝑦𝑒𝑒 & 𝐵𝑒𝑛𝑒𝑓𝑖𝑡𝑠 𝐺&𝐴 𝐸𝑥𝑝𝑒𝑛𝑠𝑒 𝐴𝑚𝑜𝑢𝑛𝑡
          Step Three:
𝐹𝑖𝑠𝑐𝑎𝑙 𝑌𝑒𝑎𝑟 𝐸𝑚𝑝𝑙𝑜𝑦𝑒𝑒 & 𝐵𝑒𝑛𝑒𝑓𝑖𝑡𝑠 𝐺&𝐴 𝐸𝑥𝑝𝑒𝑛𝑠𝑒 𝐴𝑚𝑜𝑢𝑛𝑡 + 𝑂𝑡ℎ𝑒𝑟 𝐹𝑖𝑠𝑐𝑎𝑙 𝑌𝑒𝑎𝑟 𝐺&𝐴 𝐸𝑥𝑝𝑒𝑛𝑠𝑒𝑠
             = 𝑇𝑜𝑡𝑎𝑙 𝐹𝑖𝑠𝑐𝑎𝑙 𝑌𝑒𝑎𝑟 𝐺&𝐴 𝐸𝑥𝑝𝑒𝑛𝑠𝑒𝑠
          Step Four:
            𝑇𝑜𝑡𝑎𝑙 𝐹𝑖𝑠𝑐𝑎𝑙 𝑌𝑒𝑎𝑟 𝐺&𝐴 𝐸𝑥𝑝𝑒𝑛𝑠𝑒𝑠
                                               = 𝐹𝑖𝑠𝑐𝑎𝑙 𝑌𝑒𝑎𝑟 𝐺&𝐴 𝐹𝑖𝑛𝑎𝑛𝑐𝑖𝑎𝑙 𝑅𝑎𝑡𝑖𝑜
          𝑇𝑜𝑡𝑎𝑙 𝐹𝑖𝑠𝑐𝑎𝑙 𝑌𝑒𝑎𝑟 𝐶𝑜𝑠𝑡 𝑜𝑓 𝐺𝑜𝑜𝑑𝑠 𝑆𝑜𝑙𝑑
Plaintiffs assert that Step One’s numerator is understated, leading to a distortedly low G&A

Allocation Ratio, which in turn depresses the calculations at the subsequent steps, ultimately

understating constructed normal value. See Revised Opening Br. at 44-47; Plaintiffs’

Administrative Case Br. at 20-23 (Appx083452-083455). The Government is simply wrong in

characterizing Plaintiffs’ argument as “that Commerce should have somehow incorporated actual

expenses into the G&A allocation ratio.” Govt Br. at 26. Evidently, the Government is

constrained by Commerce’s fundamental failure to grasp this issue.




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       The remainder of the Government’s defense is as non-responsive as Commerce’s Final

IDM. The Government describes Step One and Step Two, but tellingly cites Plaintiffs’ Revised

Opening Brief for support. See Govt Br. at 27. After all, Commerce’s Final IDM makes no

mention of the G&A allocation ratio (Step One). See, e.g., Final IDM at 6-7 (Appx083617-

083618). Next, whereas Plaintiffs’ arguments focus on cost centers omitted at Step One, see

Revised Opening Br. at 44-47, the Government generalizes Plaintiffs’ argument as whether “total

G&A expenses were underreported” (Step Four). Govt Br. at 27. To address this vague

generalization, in the Government’s telling, Commerce engaged in a mismatched “compar{ison

of} the reported {fiscal year} G&A expense ratio {(Step Four)} to a calculated period of

investigation G&A expense ratio using the cost center costs referred to by the petitioners and

found that this ratio was actually lower than the {fiscal year} G&A expense ratio that was

reported by Bharat.” See id. (emphasis supplied). Stated as an equation:

      𝑅𝑒𝑣𝑖𝑠𝑒𝑑 𝑃𝑂𝐼 𝐺&𝐴 𝐸𝑥𝑝𝑒𝑛𝑠𝑒𝑠
                                  < 𝐹𝑖𝑠𝑐𝑎𝑙 𝑌𝑒𝑎𝑟 𝐺&𝐴 𝐹𝑖𝑛𝑎𝑛𝑐𝑖𝑎𝑙 𝑅𝑎𝑡𝑖𝑜 𝑎𝑠 𝑅𝑒𝑝𝑜𝑟𝑡𝑒𝑑
     𝑇𝑜𝑡𝑎𝑙 𝑃𝑂𝐼 𝐶𝑜𝑠𝑡 𝑜𝑓 𝐺𝑜𝑜𝑑𝑠 𝑆𝑜𝑙𝑑
See id.; Final IDM at 6-7 (Appx083617-083618).

       This exercise completely misses the point. POI values do not equal fiscal year values,

and their respective ratios are bound to differ. The ultimate question is whether the reported

Fiscal Year G&A Financial Ratio (Step Four) itself should have been higher. Given how the

Fiscal Year G&A Financial Ratio was calculated (Steps One to Four), determining whether the

G&A Allocation Ratio (Step One) was depressed by the improper omission of certain POI

employee & benefits costs is required to answer this question. Commerce’s irrelevant apples-to-

oranges comparison fails to engage with this. Consequently, Commerce’s ultimate conclusion

that the product of Step Four was correct is unsupported by substantial evidence, requiring

remand.


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                            Respectfully submitted,

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